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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 JEFFREY A. EDWARDS,                           )
                                               )
                Plaintiff,                     )
                                               )
         vs.                                   )          1:03-cv-1784-JDT-WTL
                                               )
 BISYS, INC.,                                  )
                                               )
                Defendant.                     )


                                         JUDGMENT


         The court, having this day made its Entry,


         It is now therefore ORDERED, ADJUDGED, AND DECREED that judgment is

 entered in favor of the Defendant, Bisys, Inc., and against the Plaintiff, Jeffrey A.

 Edwards. This action is dismissed with prejudice. Costs are assessed against the

 Plaintiff.


         ALL OF WHICH IS ORDERED this 21st day of February 2006.




                                                   _______________________________
 Laura A. Briggs, Clerk                              John Daniel Tinder, Judge
 United States District Court                        United States District Court
                                                     John Daniel Tinder, Judge
                                                     United States District Court


 By Evelyn A. Hollins, Deputy Clerk
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